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IN THE UNITED sTATEs DIsTchT cOURT " "
FOR THE WESTERN DISTRICT FOR TENNESSEE 95 AUG 21» PH 12= 35
WESTERN DIVISION f
UNITED sTATEs OF AMERICA, . lel?f\; .\ iz!€l COU.»*¢I
Mll@ Gl' llv. -ul£.lv’linl“lls
Plaimiff,
vs. cr. No. 05-20134 D
RUSSELL WARREN,
Defendant.

 

ORDER GRANTING DEFENDANT‘S MOTION TO WAIVE
APPEARANCE AT REPORT DATE

For good cause shown, defendant's request to waive his appearance at the report date set in

this case for August 25‘h, 2005 . is hereby GRANTED. Defendant shall not be required to appear,

and shall remain on his present bond.

h is so 0RDERED, this 01ch day of 62, ¢ 5a ,¢ ,2005.

 

Thle document entered on the docket she o ll a
with F£ule 55 and/or 32(b) FHCrP on /V

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 2:05-CR-20134 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

